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                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF UTAH CENTRAL DIVISION


    OWNER-OPERATOR INDEPENDENT                             MEMORANDUM DECISION AND
    DRIVERS ASSOCIATION, INC., et al.,                         ORDER GRANTING
                                                             MOTION FOR AWARD OF
                      Plaintiffs,                           PREJUDGMENT INTEREST
             vs.
                                                                   Case No. 2:02 CV 950 TS
    C. R. ENGLAND, INC.,
                                                                 District Judge Ted Stewart
                      Defendant.                                Magistrate Judge David Nuffer

           This arises out of Plaintiffs’ allegations that Defendant improperly administered escrow

funds established under lease agreements (Independent Contractor Operating Agreement or

ICOA) whereby Plaintiffs leased their trucks to Defendant for use in Defendant’s trucking

business. Plaintiffs successfully claimed 1 that Defendant’s actions violated the federal Truth-in-

Leasing Regulations. 2

           In the October 24, 2008 Order on Finalization of the Accounting of Escrow Accounts, the

district judge ordered that restitution awards to individual Plaintiffs and Class Members should

be paid “along with payment of reasonable interest.” 3 Plaintiffs’ Motion for Award of

Prejudgment Interest 4 raises the issue of the appropriate interest rate.

                                          Summary of Initial Positions

           Plaintiffs argue that Utah’s statutory legal interest rate of 10% should be imposed, 5 while

Defendant argues that the Treasury bill rate should apply because of a federal regulation


1
    Docket No. 299, ¶ 47, filed June 20, 2007.
2
    49 C.F.R. Part 376.
3
    Docket no. 358, at 6, filed October 24, 2008.
4
    Docket no. 371, filed January 30, 2009.
5
 Plaintiffs’ Memorandum in Support of Motion for Award of Prejudgment Interest (Memorandum in Support),
docket no. 372, filed January 30, 2009.
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governing the lease escrow funds which are being accounted in this case. 6 Defendant argues the

Utah contract rate cannot apply because (a) the ICOA specifies an interest rate, making the Utah

statute inapplicable; 7 (b) the case is not a contract case, but a case alleging federal regulatory

violations; 8 and (c) choice of law language in the ICOA does not invoke the Utah interest statute

because Plaintiffs’ claims are not made under the ICOA, but under regulations. 9

                            Contractual, Statutory and Regulatory Provisions

            The Utah statute reads:

            (1) The parties to a lawful contract may agree upon any rate of interest for the
            loan or forbearance of any money, goods, or chose in action that is the subject of
            their contract.
            (2) Unless parties to a lawful contract specify a different rate of interest, the legal
            rate of interest for the loan or forbearance of any money, goods, or chose in action
            shall be 10% per annum. 10

            The federal regulation on lease escrow funds, applicable to the relationship between these

parties, reads:

            [W]hile the escrow fund is under the control of the carrier, the carrier shall pay
            interest on the escrow fund on at least a quarterly basis. For purposes of
            calculating the balance of the escrow fund on which interest must be paid, the
            carrier may deduct a sum equal to the average advance made to the individual
            lessor during the period of time for which interest is paid. The interest rate shall
            be established on the date the interest period begins and shall be at least equal to
            the average yield or equivalent coupon issue yield on 91-day, 13-week Treasury
            bills as established in the weekly auction by the Department of Treasury. 11

            This regulatory provision is made specifically applicable to the escrow balance by the

lease form in use between Plaintiffs and Defendants. The contract establishes a Maintenance

6
 Defendant C. R. England’s Memorandum in Opposition to Motion for Pre-Judgment Interest (Memorandum in
Opposition) at 2-3, docket no. 375, filed February 17, 2009.
7
    Id. at 3-4.
8
    Id. at 4-5.
9
    Id. at 5-6.
10
     Utah Code Ann. § 15-1-1(2) (Supp.1990).
11
     49 C.F.R. § 376.12(k)(5).


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Escrow on which interest will be “paid quarterly based on the interest rate on the 1st day of each

quarter determined by the current average yield or equivalent upon issue yield on 91 day, 13

week treasury bills as established in the preceding weekly auction by the U.S. Department of

Treasury.” 12

            The contract further provides that funds in the escrow will be paid out within 45 days of

termination of a lease relationship. “Upon the termination of the Agreement WE shall pay YOU

the balance in the Escrow fund less any appropriate offsets within 45 days.” 13

            Another provision of one form of the ICOA governs interest accruing on any amount

over 30 days past due between the parties:

            The undersigned 14 agrees that in the event of default in the payment of any
            amount due and if this account is placed in the hands of an agency or attorney for
            collections or legal action, to pay the cost of collection, attorney fees and court
            costs incurred and permitted by law governing these transactions. A finance
            charge of 1 ½ % per month (18% annually) will be charged on balances over 30
            days past due.” 15

As pointed out in the supplemental briefing on this motion, not all the ICOAs have this

paragraph. 16

                                           Initial Evaluation

            The practices of the Defendant have been held to violate the Truth-in-Leasing

regulations. The relationship of the parties was contractual, based on the ICOA. The

12
 Addendum 2 to Independent Contractor Operating Agreement at 2, attached as Exhibit A to Plaintiffs’ Reply to
Defendant’s Opposition to Motion for Award of Prejudgment Interest, docket no. 382, filed February 27, 2009.
13
     Id. at 3.
14
  This is the only instance of the use of the word “undersigned” the magistrate judge has found in the ICOA.
Otherwise, the words “YOU” and “WE” (and at times, “YOU and WE”) are used to designate the respective parties.
The ICOA concludes that “YOU and WE are both bound by this Agreement” and “YOU and WE have executed this
Agreement . . . .”
15
     Independent Contractor Operating Agreement at 4.
16
   Plaintiffs’ Supplemental Argument Regarding Prejudgment Interest Rate (Plaintiffs’ Supplemental Memorandum)
at 3, docket no. 398, filed May 11, 2009; Defendant C.R. England Inc.’s Supplemental Memorandum Regarding
Prejudgment Interest (Defendant’s Supplemental Memorandum) at 5, docket no. 399, filed May 11, 2009.


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result of the Truth-in-Leasing violations is to make sums due to these parties whose

relationship is founded in contract. Without a contract, there would be no relationship to

which the Truth-in-Leasing regulations would apply.

           The magistrate judge made preliminary observations 17 that:

           a. The regulatory interest rate, restated in the contract, applies to balances held
              on deposit in the escrow, but

           b. After sums under the ICOA are due and payable, the applicable rate is 1½ per
              cent per month, or 18 percent per annum; and

           c. The Utah statutory rate does not apply because the ICOA provides for interest
              rates, one to apply to entrusted funds and the other (present only in some
              ICOAs) to apply to sums in default.

           Because the applicability of the contractual section applying an interest rate to

funds in default was not briefed directly by either party, the magistrate judge invited

additional briefing. 18 The parties complied.

                                     Supplemental Briefing

           As noted by both parties in their supplemental memoranda, there are two versions

of the ICOAs; an earlier one and a later one. The earlier version of the ICOA did not

contain any default interest rate prevision. 19 The later ICOAs contained the default

interest provision specifying an interest rate of 18% per annum. 20

           Plaintiffs argue that because the newer ICOA contracts have the default interest

rate provision of 18% per annum, custom would suggest that all ICOA contracts should


17
   Memorandum Decision and Order Regarding Motion for Award of Prejudgment Interest, docket no. 396, filed
May 5, 2009.
18
     Id.
19
  William ‘Al’ Piper’s ICOA attached as Exhibit A to Defendant’s Supplemental Memorandum; Donald Lee
Sullivan’s ICOA attached as Exhibit E to Plaintiffs’ Supplemental Memorandum.
20
 Thomas Alan Shutt’s ICOA attached as Exhibit A to Plaintiffs’ Supplemental Memorandum at Ex. A; James V.
Murphy’s ICOA attached as Exhibit B to Plaintiffs’ Supplemental Memorandum.


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receive the same treatment. 21 Plaintiffs further argue that if the default interest rate

provision of 18% per annum does not apply to all ICOA contracts, then Utah’s statutory

rate of 10% should apply to the ICOAs without the provision. 22

            Defendant advances several arguments against applying the contractual default

rate. Defendant states the regulatory rate controls even after default. 23 However,the

regulatory provision only provides a floor. As stated in the Truth-in-Leasing Regulation,

“The interest rate . . . shall be at least equal to [the specified regulatory rate].” 24 The

ICOAs without the default interest rate do specify the regulatory rate as the contractual

rate. But in the other ICOAs the default interest rate is contractually specified as 18% per

annum. This higher contractual rate is consistent with the regulations since the

regulations only specify a minimum rate. (This analysis also defeats Defendant’s

argument that the specified 18% rate contravenes the regulations. 25)

            Defendants assert that the 18% rate that Defendant’s contract specifies is not

reasonable. 26 However, Defendant should not be permitted to argue that its own form

contract is unreasonable when that rate is applied to Defendant.

            Defendant asserts the contracts with the 18% rate provision cannot apply that rate

to the funds in default because the more specific provision for escrow fund interest

controls over the more general provision for past due funds. 27 Actually, the court sees it



21
     Plaintiffs’ Supplemental Memorandum at 3.
22
     Id. at 3.
23
     Defendant’s Supplemental Memorandum at 1.
24
     49 C.F.R. § 376.12(k)(5) (2008).
25
     Defendant’s Supplemental Memorandum at 2-3.
26
     Id. at 4-5.
27
     Id. at 4.


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just the other way around: A specific interest rate stated for funds in default should

control over a more general rate applicable to escrow funds.

            Defendant claims the default interest rate provision of 18% annually was not

included in all of the ICOA contracts and enforcing it across the board would provide

overcompensation to some of the plaintiffs. 28 The court agrees that applying the rate

regardless of the language of each ICOA is not permitted.

            Defendant also argues that because the newer ICOAs contain the provision and

older ICOAs did not, it will be very difficult, administratively, to enforce different

interest rates. 29 The varying rates do add one more dimension to the accounting, but

every account is an individual account, and the magistrate judge is tasked with seeing that

the accounting is done. There are many individual factors in the accounting, and this is

only one more factor which must be considered.

                                              Decision

            First, as stated above, the regulatory interest (contractual) rate applies to balances

held on deposit in the escrow in all ICOA contracts.

            Next, because only some versions of the ICOA contain the 18% per annum

default interest rate provision, the accounting will only use that rate for those Class

Members whose ICOA specifies the default interest rate of 18% per annum. For the

Class Members whose ICOA does not have that provision, the regulatory rate continues

to apply. Under Utah law, the statutory interest rate applicable to amounts in default is

10% per annum for any contracts silent in regard to default interest rates. Because each

ICOA does have a contractual rate, the Utah statutory rate does not apply at all.

28
     Id. at 5.
29
     Id.


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           Further, for Class Members whose ICOA specifies the default interest rate of 18%

per annum, the default interest rate of 18% per annum does not take effect until “balances

[are] over 30 days past due.” Thus, there is a grace period of 30 days – beyond the 45

days after contract termination when sums are payable 30 – before the 18% per annum rate

is applied. This does not mean that no interest accrues during the grace period, rather, the

regulatory (contractual) rate continues from the time of the default until the grace period

ends.

           Therefore, the following interest rates shall be applied in the accounting.

           a. The regulatory interest rate, also stated in the contract, applies to all balances
              held on deposit in the escrow;

           b. The regulatory interest rate applies after sums under the ICOA are due and
              payable; but

           c. For Class Members whose ICOA specifies a default interest rate, that rate
              applies to sums over 30 days past due – that is after 45 days has passed since
              termination of the ICOA; and

           d. The Utah statutory rate does not apply because the contracts in this case are
              not silent concerning interest rate provisions.


                                  During Escrow
     Type of Agreement          (including 45 days     30 Day “Grace Period”      Beyond “Grace Period”
                                after termination)

ICOA with 18% default           Regulatory interest        Regulatory interest   ICOA default interest rate of
interest rate provision            rate applies               rate applies             18% applies

ICOA without default            Regulatory interest        Regulatory interest       Regulatory interest
interest rate provision            rate applies               rate applies              rate applies
Fig. 1 Summary of applicable interest rates.




30
     Independent Contractor Operating Agreement at 4


                                                       7
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                                               ORDER

           IT IS HEREBY ORDERED that the motion for award of interest 31 is GRANTED

and the Defendant shall pay Prejudgment Interest in accordance to the schedule specified

above.

           Dated this 21st day of May 2009.


                                                       BY THE COURT:



                                                       ___________________________________
                                                       David Nuffer
                                                       United States Magistrate Judge




31
     Docket no. 371, filed January 30, 2009.


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